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EXHIBIT
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Civil Action No. 1:16-cv-08879-VSB

TINA MICHELLE BRAUNSTEIN,

- against -

SAHARA PLAZA, LLC,

 

Counsel.

 

212-267-6868

DEPOSITION of EVAN HUNT,

Witness in the above-entitled action, held

Plaintiff,

and THE PLAZA HOTEL

a FAIRMONT MANAGED HOTEL,

Defendants.

101 Park Avenue

r

New York, New York

September 28, 2
11:04 a.m.

at the aforementioned time and place,

pursuant to the Federal Rules of Civil

 

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017

a Non-Party

taken

before Ashley Shugar, a Shorthand Reporter
and Notary Public of the State of New York,

Procedure, Notice and stipulations between

 

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Page 2 Page 4
1 1 E, HUNT
2 APPEARANCES: 2EVAN HUNT, the Witness herein,
| 3 3 having first been duly sworn by the Notary
4 RAISER & KENNIFF, PC 4 Public, was examined and testified as
5 Attorneys for Plaintiff 5 follows:
6 300 Old Country Road, Suite 351 6 EXAMINATION BY
7 Mineola, New York 11501 7 MR. HAESLOOP:
| 8 BY: E. GORDON HAESLOOP, ESQ. 8 Q. Okay. Could Ihave your full
9 gordon@raiserkenniff.com 9 name and home address, please?
10 10 A. Qh, boy. Okay. So the full
11 11 name is easy. Evan Douglas Hunt.
|12 SILLS CUMMINS & GROSS PC 12 The home address just changed.
13 Attorneys for Defendants 13 It's 113 West Pierson, Phoenix, Arizona
14 SAHARA PLAZA, LLC, and THE PLAZA HOTEL, 14 85013.
15 a FAIRMONT MANAGED HOTEL 15. Q. How long have you been there?
16 101 Park Avenue, 28th Floor 16 A. Two weeks.
17 New York, New York 10178 17 Q. Well, congratulations on your
18 BY: A. SONU RAY, ESQ. 18 move.
19 sray@sillscummis.com 19 A. Thank you.
20 20 QQ. And by whom are you employed at
21 21 this time?
22 + % 22 ~=A. I'mstill employed by Fairmont.
23 23 Q. Okay. And there is an entity
24 24 named Sahara that's under the Fairmont
25 25 label?
Page 3 Page 5
1 1 E. HUNT
2 STIPULATIONS 2 A. Sahara is the owner of The
3 3 Plaza.
4 IT IS HEREBY STIPULATED AND AGREED, | 4 Q. Right.
| 5 by and among counsel for the respective 5 A. Yeah.
6 parties hereto, that the filing, sealing 6 QQ. And what is their relationship
7 and certification of the within deposition 7 to Fairmont?
8 shall be and the same are hereby waived; 8 A. It--
9 IT IS FURTHER STIPULATED AND AGREED) 9 They own a stake of -- of --
10 that all objections, except as to form of 10 Well, so I guess The Plaza is
11 the question, shall be reserved to the time 11 the asset -- the building is the asset. So
12. of the trial; 12 Sahara is an owner of -- of The Plaza.
13 IT IS FURTHER STIPULATED AND AGREED] 13 Although, | thought that that was -- I'm
14 that the within deposition may be signed 14 not an expert on this, but I think that
15 before any Notary Public with the same 15 their share of the mortgage was recently
16 force and effect as if signed and sworn to 16 sold.
17 before the Court. 17 Q. I believe that's true.
18 18 <A. Yeah.
19 * e # 19 Q. And is Sah- --
20 20 Was Sahara originally the
21 21 manager of the property?
22 22 A. No. Sahara is not a manager.
23 23 Q. Okay.
24 24 A. Yeah.
25 25 Q. Who was the manager of the

 

 

 

 

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E. HUNT 1

followed as the assistant director of HR? 2

And take your time, please. 3

A. (Document review.) 4

It is. 5

Q. Okay. That was the procedure 6

that was in effect at the time you were the 7

assistant director? 8

A. Uh-huh. 9

Q. And in the case of the 10

bartenders at the Palm Court, were those 1]

procedures followed? 12

A, Could you be more specific? 13

You -- 14

Bartenders? 15

Q. Yeah. There were four 16

bartenders at the Palm Court. Tina 17

Braunstein was one. 18

A. Uh-huh, 19

Q. And there were three male 20

bartenders. 21

A. Uh-huh. | 22

Q. And you, I believe, received 23

complaints from the bartenders about each | 24

other's conduct or behavior? 25
Page 35

E, HUNT 1

A. Uh-huh. 2

Q. Is that correct? 3

A, That's correct. 4

Q. Okay. Do you -- 5

Did you review those complaints 6

by either e-mail or other written form 7

before you came here today? 8

‘oO

A. Some, yes.

Q. Okay. Do you recall making any 10
notes with respect to Tina Braunstein's 11
complaints? 12

A. Yes, a few. 13

Q. Okay. And you don't have those 14
handwritten notes? 15

A. Weactually went over some of 16

17
18

them yesterday.
Q. The notes?

 

A. Yeah. 19
Q. Okay. 20
A. You have them in the exhibits. 21

MR. HAESLOOP: I would call for 22

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the production of his handwritten
notes as the --

 

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E, HUNT
referring to have been produced. We
went over Defendant's production to
Plaintiff.

MR. HAESLOOP: Okay.

MS. RAY: So all of those
documents referred to have been
produced already.

MR. HAESLOOP: Uh-huh. Okay.
I just don't recall seeing those
handwritten notes because I didn't
have them.

MS. RAY: They are in
Defendant's production. There are
handwritten notes as well as typed-up
notes.

MR. HAESLOOP: Okay. Do you --

You wouldn't happen to know
their Bates stamps off --

MS. RAY: No.

BY MR. HAESLOOP: |

 

 

Q. Allright. Let me have that
back.

A. (Complies.)

Q. As you sit here today, do you

Page 37
E, HUNT

recall the nature of Tina Braunstein's
complaints to the HR department?

A. Some of them, yeah.

Q. Well, what do you recall?

A, Iremember there was a
complaint about a Taylor; there was a
complaint about another colleague, Edmund

McSloy; there was a complaint about her
manager, Amin.

Those are the only ones I can
remember specifically.

Q. Allright. And were each of
those complaints reduced to writing?

A. She sent e-mails about each
one, so they were in writing.

Q. Okay. Do you recall
interviewing her personally prior to her
termination regarding any of those
complaints?

A. linterviewed her personally
about the one about Amin, and I sat in on
the interview for her with Edmund, but I
did not interview -- I wasn't the
interviewer; I was the witness.

 

 

MS. RAY: The notes he's

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E. HUNT 1 E. HUNT
Q. Who was the interviewer? 2 investigation, it turned out that Tina was
A. Kristin Stabile. 3 actually bullying Edmund beforehand.
Q. And who is she? 4  Q. And how was that determined?
A. She was the interim director of 5 A. Based off of the witness
HR. 6 statements of the comments that Tina made
Q. Okay. Did you make notes of 7 to Edmund before the interaction happened.
that meeting? 8 QQ. And did Tina tell you the
A. Idid not. 9 comments that she made or did McSloy tell
Q. Do you know if Kristin Stabile 10 you what she said first?
made notes of that meeting? 11 A. Actually, it was the witness,
A. She did. 12 Eddie Marini, that told us.
Q. Do you remember the nature of 13 Q. And who is Eddie Marini?
the allegation? 14 A. He's another p.m. bartender.
A. Yes, 15 QQ. Do you know the names of the
Q. What was it? 16 three p.m. male bartenders other than --
A. She was complaining that 17 Well, two others besides Eddie
Edmund -- 18 Marini?
Q. That's Edmund McSloy? 19 A. Yeah, James Menite.
A. Edmund McSloy. 20 Q. Yes?
Q. He was the day bartender? 21 A. And then I -- Roberto, I can't
A. He was the day bartender, 22 remember his last name.
correct. | 23 Q. Rosa.
-- yelled at her and was very 24 A. Rosa? Okay.
aggressive in his communication with her. 25  Q. Doyourecall at any time while
Page 39 Page 41
E. HUNT 1 E. HUNT
Q. And was Edmund at that meeting? 2 you were serving in the position we're
A. Was Edmund at the meeting -- 3 talking about --
Q. The meeting where Tina was 4 A. Uh-huh,
interviewed regarding that complaint 5 QQ, -- receiving any complaint
against Edmund? 6 about James Menite drinking while on duty
A. I don't remember. 7 at the bar or being intoxicated while
Q. Okay. But that was a meeting 8 performing his duties?
that Kristin Stabile and yourself attended? 9 A. When Tina was terminated, she
A. There -- 10 brought it up.
Yes. 11 Q. How about prior to that?
And were there others present? 12. A. [don't remember receiving
I can't remember. 13 anything prior to that.

Was Tina present?
Tina was present.
, Okay. And do you recall what
action was taken in response to her
complaint?

A. It was investigated. I
remember Kristin went through and
interviewed all the witnesses to the event
and, ultimately, no discipline was handed
down to either colleague.

Q. Meaning McSloy?
A. MceSloy or Tina. Because in the

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Q. When she brought that up at the
time of her termination, did you take any
action to investigate that?

A. Yes, I didn't personally.

Martin Mariano looked into it, I believe.

Q. And do you know what the --
what he reported back to you as?

A. Yeah, I mean, there was no
conclusive proof that he had been drinking.

Q. Well, do you know how that was
determined?

A. I believe he looked at

 

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Page 46
E., HUNT
MS, RAY: Excuse me.
Could you just say "yes"
instead of --
THE WITNESS: Oh,
MS. RAY: -- "uh-huh."
THE WITNESS: Yes.
BY MR. HAESLOOP:

Q. Have you ever been deposed
before?

A. Never.

Q. Do you have plans to be deposed
in the near future?

A. Hopefully not.

Q. Allright. And it reads, "I'm
writing again to inform you that the
continued harassment by Mrs. Braunstein is
only getting worse. The situation needs to
be resolved as soon as possible for it is
no longer just causing me stress and
anxiety. Last night it started affecting
my ability to perform my job."

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Page 48 |
E, HUNT

Q. Would those reports have been
handwritten, typed or e-mailed, if you
know?

A. Marty would normally type them
and e-mail them.

Q. And it says, "Please schedule a
meeting for Roberto, myself and Evan for
Monday. In the meantime, | think we need
to bring these two together for a
discussion about acceptable behavior. I'm
going to reach out to Roberto."

And do you know if that meeting
that he's referring to ever took place?

A. I believe it did, yes.

Q. And do you remember who was at
that meeting?

A. Iwas there; Marty was there;
Roberto was there. I can't remember if
anyone else.

Q. Was Tina Braunstein there?

A. No.

Q. But the intent of Martin's
e-mail is to have everyone there to have a
meeting for a discussion about acceptable

 

Prior to this e-mail or
statement by Mr. Rosa, had you had any
similar complaints about Tina Braunstein?
Page 47
E, HUNT

A. Of harassment?

Q. Yes.

A. We had had similar bullying
complaints by, I believe, some of the
cocktail servers.

Q. Do you remember which ones?

A. I can't remember their names
offhand.

Q. Do you remember Paige?

A. That sounds familiar, yes.

Q. Do you know if those complaints
were ever reduced to writing?

A. ITcan't remember.

Q. Now, this e-mail that's
identified as Number 17 says -- and this is
February 21st at 11:08 and the other one
that I just read is February 21st at
8:19 a.m.

And it says, "I've sent even
reports on our meetings."

Do you know which reports he's
referring to? This is Martin Mariano.

A. Ican't remember specifically,
no.

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Page 49
E. HUNT
behavior.
Was there a reason that Tina
wasn't included in that meeting?

A. Imean, generally, if we were
meeting with a person for bullying, you
would meet with the person to discuss it
first and then discuss whether, you know --
then at that point you would take a look on
whether you would have the person that was
responsible for the alleged bullying there.

Q. Okay. And prior to
February 21st, 2015, you had received
complaints from Ms. Braunstein about
harassment allegations, had you not?

 

A. Yes.
Wait. What was the date you
said?
Q. February 21st, 2015.
A, Yes.
Q. Okay. And did you ever after
the -- after February 21st, 2015, have a

meeting with Tina Braunstein to discuss
these allegations?
A. I can't remember,

 

 

 

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13 (Pages 46 - 49)

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